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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

NETWORK-1 TECHNOLOGIES, INC.,

       Plaintiff,

       v.                                          C.A. No. 22-cv-1320-MN

HONEYWELL INTERNATIONAL INC.,

       Defendant.


                               STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties

hereby agree to dismiss this action with prejudice, each side shall bear its own costs, expenses,

and attorney’s fees.

Dated: June 26, 2024                              Respectfully submitted,

FARNAN LLP                                        K&L GATES LLP

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                                        IT IS SO ORDERED this 26th day of June 2024.


                                        _________________________________________
                                        The Honorable Maryellen Noreika
                                        United States District Judge
